Via ECF
The Honorable Arun Subramanian                                              February 4, 2025
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl St., Courtroom 15A
New York, NY 10007

Re:   United States, et al. v. Live Nation Entertainment, Inc., et al., No. 1:24-cv-3973-AS

Dear Judge Subramanian:

        Plaintiffs submit this letter in response to Defendants’ request to seal in whole or in part
Exhibits A and C to Plaintiffs’ Motion to Seal Letter to Court re: Motion to Dismiss and
Accompanying Exhibits, ECF No. 408. Plaintiffs do not oppose most of Defendants’ proposed
redactions to Exhibit C. Yet both exhibits are “judicial documents” subject to a presumption of
public access, and Defendants have not carried their burden as to some proposed redactions to
Exhibit C or their request to seal the entirety of Exhibit A.

       Exhibits A and C Are Both Judicial Documents Subject to a Presumption of Access.

        To qualify as a “judicial document,” a paper “must be relevant to the performance of the
judicial function and useful in the judicial process.” United States v. Amodeo, 44 F.3d 141, 145
(2d Cir. 1995). Exhibits A and C are judicial documents because they respond to the Court’s
requests for elaboration about the facts alleged in the Amended Complaint and a proffer of
additional facts that could be alleged in a Second Amended Complaint, should the Court grant
leave for further amendment.
        Plaintiffs submitted their January 25 letter to “address[] topics discussed at the [January
22] hearing.” ECF No. 402. Among other topics, the Court asked Plaintiffs “to respond directly
to the argument made [regarding the tying claim], as a factual matter, meaning not like the
characterizations, but the actual facts” and to address if there was “something else” not alleged in
the complaint so that the Court could consider whether to allow Plaintiffs to amend the
Complaint “based on the parties’ submissions.” Hearing Tr. at 37:23–24, 38:8–13 (Jan. 22,
2025). Plaintiffs addressed these inquiries in their January 25 letter and accompanying exhibits
by setting forth in more detail the facts underlying Plaintiffs’ tying claim. Although the
Amended Complaint contains sufficient allegations to state a tying claim, Exhibits A and C
address questions from the Court about those allegations—and what kinds of additional
allegations Plaintiffs could include in an amended complaint—in the context of a pending
motion to dismiss. Thus, both exhibits qualify as filings “relevant to the performance of the
judicial function and useful in the judicial process.” Amodeo, 44 F.3d at 145.
        Exhibit A shows on its face that an independent amphitheater (i.e., one not owned or
controlled by Live Nation) contracted with a promoter (Live Nation) acting on behalf of a
specific artist for a specific date. This example of disaggregated promotion services and
amphitheater access provides additional factual context for the Amended Complaint’s allegation


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that promotion services and amphitheater access are “separate products,” including because
“some industry participants, such as third-party operated amphitheaters, . . . only offer access to
amphitheaters.” Am. Compl. ¶ 244.
         Similarly, Exhibit C demonstrates additional information that Plaintiffs could use to
reinforce their allegation that “[a]rtists . . . ultimately choose the amphitheaters where they will
perform” and are therefore “the customers for provision of use of large amphitheaters,” even
when they secure that use “through their chosen promoter.” Am. Compl. ¶ 208. Exhibit C shows
Live Nation, as venue owner, denying amphitheater access to two specific artist clients who did
not hire Live Nation for the specific shows at issue, in response to a promoter’s outreach on the
artists’ behalf. The back-and-forth in the email chain demonstrates that the identity of the artist
determined Live Nation’s decision. Thus, Exhibit C provides additional factual context for
Plaintiffs’ allegation that Live Nation refuses to rent its amphitheaters to artists who choose non-
Live Nation promoters. See, e.g., Am. Compl. ¶ 113.
       Defendants Have Not Justified Wholesale Sealing of Exhibit A and All Proposed
       Redactions to Exhibit C.
        To justify sealing or redaction of a judicial document, a party “must make a particular
and specific demonstration of fact showing that disclosure would result in an injury sufficiently
serious to warrant protection.” Ashmore v. CGI Grp. Inc., 138 F. Supp. 3d 329, 351 (S.D.N.Y.
2015). “[B]road allegations of harm unsubstantiated by specific examples or articulated
reasoning fail to satisfy the test.” Id.
         Defendants have failed to carry this burden with respect to Exhibit A because their
showing is “broad” and “unsubstantiated.” Id. Defendants vaguely reference various kinds of
“nonpublic pricing terms” that are “contain[ed]” in Exhibit A, and claim, without any
substantiation, that disclosure of any portion of Exhibit A “could adversely affect” various and
unspecified “relationships” among venues and promoters. ECF No. 415 at 2. That kind of boiler-
plate response is insufficient. Despite having more than the three business days provided by the
Amended Protective Order to identify redactions, see ECF No. 347 ¶ 4, Defendants failed in their
letter to identify which specific portions of Exhibit A reflect “nonpublic pricing terms,” ECF No.
415 at 2, contrary to the Court’s requirement that sealing “must be narrowly tailored to serve
whatever purpose justifies” it, Individual Practices ¶ 11(B). And Defendants likewise failed to
“make a particular and specific demonstration” of how disclosure of contract terms that were in
effect more than three years ago “would result in an injury sufficiently serious to warrant
protection.” Ashmore, 138 F. Supp. 3d at 351. At a minimum, the identities of the performances
reflected in Exhibit A, which were events publicly promoted and advertised by Live Nation in
2021, are no longer confidential in 2025.
        Plaintiffs do not oppose Defendants’ request to redact individual contact information for
third parties in Exhibit C because it is purely personal information that does not relate to the
issues presently before the Court. However, Defendants have not met their burden to redact from


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Exhibit C the identities of the two artists to whom Live Nation denied amphitheater access. As
discussed above, those identities are relevant here because those artists’ affiliation with rival
promoters was the basis on which Live Nation denied them access, which supports Plaintiffs’
allegation that Live Nation’s restrictive policy on amphitheaters applies directly to artists. This
relevance defeats Defendants’ only basis for redacting the names, cf. ECF No. 415 at 3 (relying
on purported irrelevance).

Respectfully submitted,

                                                      /s/ Bonny Sweeney
                                                      BONNY SWEENEY
                                                      Lead Trial Counsel

                                                      Rachel Hicks
                                                      Matthew R. Huppert
                                                      United States Department of Justice
                                                      Antitrust Division
                                                      450 Fifth Street N.W., Suite 4000
                                                      Washington, DC 20530
                                                      Telephone: (202) 725-0165
                                                      Facsimile: (202) 514-7308
                                                      Email:Bonny.Sweeney@usdoj.gov

                                                      Attorneys for Plaintiff
                                                      United States of America




                                                 3
/s/ Robert A. Bernheim                           /s/ Conor J. May
Robert A. Bernheim (admitted pro hac vice)       Conor J. May (admitted pro hac vice)
Office of the Arizona Attorney General           Assistant Attorney General
Consumer Protection & Advocacy Section           Antitrust Unit
2005 N. Central Avenue                           Colorado Department of Law
Phoenix, AZ 85004                                1300 Broadway, 7th Floor
Telephone: (602) 542-3725                        Denver, CO 80203
Fax: (602) 542-4377                              Telephone: (720) 508-6000
Email: Robert.Bernheim@azag.gov                  Email: Conor.May@coag.gov
Attorney for Plaintiff State of Arizona          Attorney for Plaintiff State of Colorado
/s/ Amanda J. Wentz                              /s/ Kim Carlson McGee
Amanda J. Wentz (admitted pro hac vice)          Kim Carlson McGee (admitted pro hac vice)
Assistant Attorney General                       Assistant Attorney General
Office of the Arkansas Attorney General          Office of the Attorney General of
323 Center Street, Suite 200                     Connecticut
Little Rock, AR 72201                            165 Capitol Avenue
Telephone: (501) 682-1178                        Hartford, CT 06106
Fax: (501) 682-8118                              Telephone: 860-808-5030
Email: amanda.wentz@arkansasag.gov               Email: kim.mcgee@ct.gov
Attorney for Plaintiff State of Arkansas         Attorney for Plaintiff State of Connecticut
/s/ Paula Lauren Gibson                          /s/ Elizabeth G. Arthur
Paula Lauren Gibson (admitted pro hac            Elizabeth G. Arthur (admitted pro hac vice)
vice)                                            Senior Assistant Attorney General
Deputy Attorney General                          Office of the Attorney General for the
(CA Bar No. 100780)                              District of Columbia
Office of the Attorney General                   400 6th Street NW, 10th Floor
California Department of Justice                 Washington, DC 20001
300 South Spring Street, Suite 1702              Email: Elizabeth.arthur@dc.gov
Los Angeles, CA 90013                            Attorney for Plaintiff District of Columbia
Telephone: (213) 269-6040
                                                 /s/ Lizabeth A. Brady
Email: paula.gibson@doj.ca.gov
                                                 Lizabeth A. Brady
Attorney for Plaintiff State of California
                                                 Director, Antitrust Division
                                                 Florida Office of the Attorney General
                                                 PL-01 The Capitol
                                                 Tallahassee, FL 32399-1050
                                                 Telephone: 850-414-3300
                                                 Email: Liz.Brady@myfloridalegal.com
                                                 Attorney for Plaintiff State of Florida



                                             4
/s/ Richard S. Schultz                           /s/ Mario Guadamud
Richard S. Schultz (Admitted pro hac vice)       Mario Guadamud (admitted pro hac vice)
Assistant Attorney General                       Louisiana Office of Attorney General
                                                 1885 North Third Street
Office of the Illinois Attorney General
                                                 Baton Rouge, LA 70802
Antitrust Bureau                                 Telephone: (225) 326-6400
115 S. LaSalle Street, Floor 23                  Fax: (225) 326-6498
Chicago, Illinois 60603                          Email: GuadamudM@ag.louisiana.gov
Telephone: (872) 272-0996                        Attorney for Plaintiff State of Louisiana
Email: Richard.Schultz@ilag.gov                  /s/ Schonette J. Walker
Attorney for Plaintiff State of Illinois         Schonette J. Walker (Admitted pro hac
                                                 vice)
/s/ Jesse Moore                                  Assistant Attorney General
Jesse Moore (admitted pro hac vice)              Chief, Antitrust Division
Deputy Attorney General                          200 St. Paul Place, 19th floor
Office of the Indiana Attorney General           Baltimore, Maryland 21202
302 W. Washington St., Fifth Floor               Telephone: (410) 576-6470
Indianapolis, IN 46204                           Email: swalker@oag.state.md.us
Telephone: 317-232-4956
                                                 Attorney for Plaintiff State of Maryland
Email: Jesse.Moore@atg.in.gov
Attorney for Plaintiff State of Indiana          /s/ Katherine W. Krems
                                                 Katherine W. Krems (admitted pro hac
/s/ Noah Goerlitz                                vice)
Noah Goerlitz (admitted pro hac vice)            Assistant Attorney General, Antitrust
Assistant Attorney General                       Division
Office of the Iowa Attorney General              Office of the Massachusetts Attorney
1305 E. Walnut St.                               General
Des Moines, IA 50319                             One Ashburton Place, 18th Floor
Telephone: (515) 281-5164                        Boston, MA 02108
Email: noah.goerlitz@ag.iowa.gov                 Telephone: (617) 963-2189
Attorney for Plaintiff State of Iowa             Email: Katherine.Krems@mass.gov
/s/ Lynette R. Bakker                            Attorney for Plaintiff Commonwealth of
Lynette R. Bakker (admitted pro hac vice)        Massachusetts
First Assistant Attorney General
Public Protection Division                       /s/ LeAnn D. Scott
Kansas Office of Attorney General                LeAnn D. Scott (admitted pro hac vice)
120 S.W. 10th Avenue, 2nd Floor                  Assistant Attorney General
Topeka, KS 66612-1597                            Corporate Oversight Division
Telephone: (785) 296-3751                        Michigan Department of Attorney General
Email: lynette.bakker@ag.ks.gov                  P.O. Box 30736
Attorney for Plaintiff State of Kansas           Lansing, MI 48909
                                                 Telephone: (517) 335-7632
                                                 Email: ScottL21@michigan.gov
                                                 Attorney for Plaintiff State of Michigan




                                             5
/s/ Zach Biesanz                                  /s/ Zachary Frish
Zach Biesanz                                      Zachary A. Frish (admitted pro hac vice)
Senior Enforcement Counsel                        Assistant Attorney General
Antitrust Division                                Consumer Protection & Antitrust Bureau
Office of the Minnesota Attorney General          New Hampshire Attorney General’s Office
445 Minnesota Street, Suite 1400                  Department of Justice
Saint Paul, MN 55101                              1 Granite Place South
Telephone: (651) 757-1257                         Concord, NH 03301
Email: zach.biesanz@ag.state.mn.us                Telephone: (603) 271-2150
Attorney for Plaintiff State of Minnesota         Email: zachary.a.frish@doj.nh.gov
                                                  Attorney for Plaintiff State of New
/s/ Gerald L. Kucia
                                                  Hampshire
Gerald L. Kucia (admitted pro hac vice)
Special Assistant Attorney General                /s/ Yale A. Leber
Mississippi Office of Attorney General            Yale A. Leber (admitted pro hac vice)
Post Office Box 220                               Deputy Attorney General
Jackson, Mississippi 39205                        Division of Law
Telephone: (601) 359-4223                         Antitrust Litigation and Competition
Email: Gerald.Kucia@ago.ms.gov.                   Enforcement
Attorney for Plaintiff State of Mississippi       124 Halsey Street, 5th Floor
                                                  Newark, NJ 07101
/s/ Justin C. McCully                             Telephone: (973) 648-3070
Justin C. McCully (Admitted pro hac vice)         Email: Yale.Leber@law.njoag.gov
Assistant Attorney General                        Attorney for Plaintiff State of New Jersey
Consumer Protection Bureau
                                                  /s/ Jeff Dan Herrera
Office of the Nebraska Attorney General           Jeff Dan Herrera (pro hac vice pending)
2115 State Capitol                                Assistant Attorney General
Lincoln, NE 68509                                 Consumer Protection Division
Telephone: (402) 471-9305                         New Mexico Department of Justice
Email: justin.mccully@nebraska.gov                408 Galisteo St.
Attorney for Plaintiff State of Nebraska          Santa Fe, NM 87501
                                                  Telephone: (505) 490-4878
/s/ Lucas J. Tucker                               Email: JHerrera@nmdoj.gov
Lucas J. Tucker (admitted pro hac vice)           Attorney for Plaintiff State of New Mexico
Senior Deputy Attorney General
Office of the Nevada Attorney General             /s/ Jeremy R. Kasha
Bureau of Consumer Protection                     Jeremy R. Kasha
100 N. Carson St.                                 Assistant Attorney General
Carson City, NV 89701                             New York State Office of the Attorney
Email: ltucker@ag.nv.gov                          General
Attorney for Plaintiff State of Nevada            28 Liberty Street
                                                  New York, NY 10005
                                                  Telephone: (212) 416-8262
                                                  Email: Jeremy.Kasha@ag.ny.gov
                                                  Attorney for Plaintiff State of New York




                                              6
/s/ Jessica V. Sutton                           /s/ Joseph S. Betsko
Jessica V. Sutton (admitted pro hac vice)       Joseph S. Betsko (admitted pro hac vice)
Special Deputy Attorney General                 Assistant Chief Deputy Attorney General
North Carolina Department of Justice            Antitrust Section
Post Office Box 629                             Pennsylvania Office of Attorney General
Raleigh, North Carolina 27602                   Strawberry Square, 14th Floor
Telephone: (919) 716-6000                       Harrisburg, PA 17120
Facsimile: (919) 716-6050                       Telephone: (717) 787-4530
Email: jsutton2@ncdoj.gov                       Email: jbetsko@attorneygeneral.gov
Attorney for Plaintiff State of North           Attorney for Plaintiff Commonwealth of
Carolina                                        Pennsylvania

/s/ Sarah Mader                                 /s/ Paul T.J. Meosky
Sarah Mader (admitted pro hac vice)             Paul T.J. Meosky (admitted pro hac vice)
Assistant Attorney General                      Special Assistant Attorney General
Antitrust Section                               150 South Main Street
Office of the Ohio Attorney General             Providence, RI 02903
30 E. Broad St., 26th Floor                     Telephone: (401) 274-4400, ext. 2064
Columbus, OH 43215                              Fax: (401) 222-2995
Telephone: (614) 466-4328                       Email: pmeosky@riag.ri.gov
Email: Sarah.Mader@OhioAGO.gov                  Attorney for Plaintiff State of Rhode Island
Attorney for Plaintiff State of Ohio            /s/ Danielle A. Robertson
/s/ Robert J. Carlson                           Danielle A. Robertson (admitted pro hac
Robert J. Carlson (admitted pro hac vice)       vice)
Senior Assistant Attorney General               Assistant Attorney General
Consumer Protection Unit                        Office of the Attorney General of South
Office of the Oklahoma Attorney General         Carolina
15 West 6th Street                              P.O. Box 11549
Suite 1000                                      Columbia, South Carolina 29211
Tulsa, OK 74119                                 Telephone: (803) 734-0274
Telephone: 918-581-2230                         Email: DaniRobertson@scag.gov
Email: robert.carlson@oag.ok.gov                Attorney for Plaintiff State of South
Attorney for Plaintiff State of Oklahoma        Carolina
                                                /s/ Aaron Salberg
/s/ Gina Ko                                     Aaron Salberg (admitted pro hac vice)
Gina Ko (admitted pro hac vice)                 Assistant Attorney General
Assistant Attorney General                      1302 E. Hwy 14, Suite 1
Antitrust, False Claims, and Privacy            Pierre SD 57501
Section                                         Email: aaron.salberg@state.sd.us
Oregon Department of Justice                    Attorney for Plaintiff State of South Dakota
100 SW Market St.,
Portland, Oregon 97201
Telephone: (971) 673-1880
Fax: (503) 378-5017
Email: Gina.Ko@doj.oregon.gov
Attorney for Plaintiff State of Oregon


                                            7
/s/ Hamilton Millwee                              /s/ David C. Smith
Hamilton Millwee (admitted pro hac vice)          David C. Smith (admitted pro hac vice)
Assistant Attorney General                        Assistant Attorney General
Office of the Attorney General and Reporter       Office of the Attorney General of Virginia
P.O. Box 20207                                    202 North 9th Street
Nashville, TN 38202                               Richmond, Virginia 23219
Telephone: (615) 291-5922                         Telephone: (804) 692-0588
Email: Hamilton.Millwee@ag.tn.gov                 Facsimile: (804) 786-0122
Attorney for Plaintiff State of Tennessee         Email: dsmith@oag.state.va.us
                                                  Attorney for Plaintiff Commonwealth of
/s/ Diamante Smith
                                                  Virginia
Diamante Smith (admitted pro hac vice)
Assistant Attorney General, Antitrust             /s/ Rachel A. Lumen
Division                                          Rachel A. Lumen (admitted pro hac vice)
Office of the Attorney General of Texas           Assistant Attorney General
P.O. Box 12548                                    Travis Kennedy (admitted pro hac vice)
Austin, TX 78711-2548                             Managing Assistant Attorney General
Telephone: (512) 936-1674                         Antitrust Division
Attorney for Plaintiff State of Texas             Washington Office of the Attorney General
                                                  800 Fifth Avenue, Suite 2000
/s/ Marie W.L. Martin                             Seattle, WA 98104-3188
Marie W.L. Martin (admitted pro hac vice)         Telephone: (206) 464-5343
Deputy Division Director,                         Email: Rachel.Lumen@atg.wa.gov
Antitrust & Data Privacy Division
                                                  Attorneys for Plaintiff State of Washington
Utah Office of Attorney General
160 East 300 South, 5th Floor                     /s/ Douglas L. Davis
P.O. Box 140830                                   Douglas L. Davis (admitted pro hac vice)
Salt Lake City, UT 84114-0830                     Senior Assistant Attorney General
Telephone: 801-366-0375                           Consumer Protection and Antitrust Section
Email: mwmartin@agutah.gov                        West Virginia Office of Attorney General
Attorney for Plaintiff State of Utah              P.O. Box 1789
                                                  Charleston, WV 25326
/s/ Sarah L. J. Aceves                            Telephone: (304) 558-8986
Sarah L. J. Aceves (pro hac vice                  Fax: (304) 558-0184
forthcoming)                                      Email: douglas.l.davis@wvago.gov
Assistant Attorney General                        Attorney for Plaintiff State of West Virginia
Consumer Protection and Antitrust Unit
Vermont Attorney General’s Office                 /s/ Laura E. McFarlane
109 State Street                                  Laura E. McFarlane (admitted pro hac vice)
Montpelier, VT 05609                              Assistant Attorney General
Telephone: (802) 828-3170                         Wisconsin Department of Justice
Email: sarah.aceves@vermont.gov                   Post Office Box 7857
Attorney for Plaintiff State of Vermont           Madison, WI 53707-7857
                                                  Telephone: (608) 266-8911
                                                  Email: mcfarlanele@doj.state.wi.us
                                                  Attorney for Plaintiff State of Wisconsin




                                              8
/s/ William T. Young
William T. Young
Assistant Attorney General
Wyoming Attorney General’s Office
109 State Capitol
Cheyenne, WY 82002
Telephone: (307) 777-7841
Email: william.young@wyo,gov
Attorney for the Plaintiff State of Wyoming




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